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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-CV-61084-SCOLA/TORRES

  UNITED STATES OF AMERICA,
  the States of Arkansas, California.
  Colorado, Connecticut, Delaware, Florida,
  Georgia, Illinois, Indiana, Iowa, Louisiana,
  Maryland, the Commonwealth of
  Massachusetts, Michigan, Minnesota,
  Missouri, Montana, Nevada, New
  Hampshire, New Jersey, New Mexico,
  New York, North Carolina, Oklahoma,
  Rhode Island, Tennessee, Texas, Vermont,
  the Commonwealth of Virginia,
  Washington, and the District of Columbia,
  ex rel. AMBER WATT,

         Plaintiffs,

  v.

  VIRTUOX, INC.,

        Defendant.
  ____________________________________/

                            UNITED STATES OF AMERICA’S REPLY
                       IN SUPPORT OF ITS MOTION FOR CLARIFICATION

         The United States of America (the “Government”) submits this reply in support of its

  motion to clarify that this Court’s dismissal of Relator’s complaint pursuant to Rule 12(b)(6) was

  made without prejudice to the rights of the United States (“Motion”) (ECF 84). 1 In further support

  of this Motion, the United States of America states as follows:



  1
    Relator’s Notice of Appeal (ECF 82) does not divest this Court of jurisdiction to rule on the
  United States’ Motion for Clarification (ECF 84), filed under Federal Rule of Civil Procedure 60,
  that dismissal of this case is without prejudice to the United States. Under the Federal Rules of
  Appellate Procedure, a notice of appeal is not effective until the district court enters an order
  disposing of a timely-filed motion for relief under Rule 60. Fed. R. App. P. 4(a)(4)(B)(i).
  Accordingly, this Court retains jurisdiction to rule on the United States’ Motion for Clarification.
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     I.      The Use of the Phrase “On the Merits” Does Not Establish That the Court’s
             Order Addressed the Underlying Merits of the Claims

          VirtuOx, Inc.’s Opposition to the United States of America’s Motion for Clarification

  (“Response”) (ECF 90) heavily relies on the use of the phrase “on the merits” in the Court’s Order

  dismissing the Relator’s Amended Complaint. There is no dispute that the Court’s Order was on

  the merits and with prejudice to the Relator. The only issue to be clarified is whether the Court

  intended its Order to extend to the Government, or whether the Order was made without prejudice

  to the United States. As explained in its Motion (ECF 84), the United States believes the Order

  was made without prejudice because courts have declined to extend a dismissal with prejudice of

  a relator’s complaint to the government in a non-intervened False Claims Act (FCA) case when

  the underlying merits of the claims have not been addressed. United States ex rel. Williams v. Bell

  Helicopter Textron, Inc., 417 F.3d 450, 455-56 (5th Cir. 2005); USA v. Health Mgmt. Assocs. Inc.,

  No. 2:11-CV-89-FTM-29DNF, 2014 WL 12616929, at *1 (M.D. Fla. June 10, 2014); United

  States v. KForce Gov’t Sols., Inc., No. 8:13-cv-1517-T-36TBM, 2014 WL 5823460, at *6 n.2, *9

  (M.D. Fla. Nov. 10, 2014); United States ex rel. Boros v. Health Mgmt. Assocs., No. 4:10-cv-

  10013-KMM, 2013 WL 12077816, at *1-2 (S.D. Fla. July 26, 2013).

          In its Response, VirtuOx concedes that “when the relator’s case loses on a motion to

  dismiss, the Government should not be bound if the dismissal is for reasons not tied to the

  underlying legal merit.” Response (ECF 90), p. 9 (citing to United States ex rel. Vaughn v. United

  Biologics, LLC, 907 F.3d 187, 194 (5th Cir. 2018)). However, VirtuOx attempts to distinguish

  Vaughn and the cases cited above by making the leap that because the Court stated its Order was


  Ross v. Marshall, 426 F.3d 745, 751–52 (5th Cir. 2005); Garcon v. Un. Mut. of Omaha Ins. Co.,
  No. 1:17-CV-3203, 2018 WL 10690746, at *2 (N.D. Ga. June 27, 2018); Cf. United States v.
  Quinoces, 503 F. App’x 800 (11th Cir. 2013) (interpreting Federal Rule of Appellate Procedure 4
  in the criminal context).

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  “on the merits,” that the Court has addressed the underlying legal merits of the allegations. This

  is not so. 2

           In attempting to portray the Court’s Order as addressing the underlying legal merits of the

  claims, VirtuOx mischaracterizes the Court’s findings. For example, VirtuOx states that “the

  Court concluded there was no legal basis to impose liability for ordering ‘spot checks’ in

  connection with overnight pulse oximetry services—a holding that reaches the merits of Relator’s

  underlying claims, not solely the specificity of her allegations.” Response (ECF 90), at 12-13.

  However, the Court actually concluded that the Relator “fail[ed] to provide facts or legal authority

  supporting her” claim. Order (ECF 82), at 14 (emphasis added).          Likewise, the Court did not

  “expressly conclude[] that identifying San Fransisco as VirtuOx’s billing locality did not constitute

  a violation of the FCA” as VirtuOx claims. Response (ECF 90), at 12. Rather, the Court held that

  such claims “should be dismissed because Watt failed to properly allege either legal or factual

  falsity.” Order (ECF 82), at 8 (emphasis added). Nor did the Court hold that “there was no legal

  basis” for the Relator’s conclusion that VirtuOx’s off-label marketing and sales of the VPOD

  CapOX device violated the FCA. Response (ECF 90), at 13. Rather, the Court stated “she

  provides no legal basis for her conclusion.” Order (ECF 82), at 14. These findings go directly to

  the sufficiency of the pleading, not the underlying merits of the claims. 3



  2
    Although VirtuOx relies on Vaughn in its Response, the Vaughn decision considered the unique
  statutory structure and position of the government in FCA litigation and discussed the various
  reasons why it would be inappropriate to extend a court’s dismissal with prejudice of the relator’s
  claims to the government.
  3
   In addition, VirtuOx inserted the word “legal” into to the phrase “on the merits” throughout its
  Response (so it reads “on the legal merits” in VirtuOx’s Response rather than “on the merits” as
  actually stated in the Court’s Order). VirtuOx also referenced arguments it made in its Motion to
  Dismiss that the Court did not address in its Order, like the applicability of CMS’s “‘courier
  model’ guidance, as articulated in Transmittal 173.” Response (ECF 90), at 14.

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          VirtuOx’s argument misses the mark because it is possible for a decision on the merits to

  not address the underlying legal merits of the claims. A decision on the merits is a term of art

  rather than an indication that a court has resolved a controversy on its merits. See Johnson v.

  Williams, 568 U.S. 289, 308 (2013). The legal term of art ‘on the merits’ refers to “a determination

  that there exist or do not exist grounds entitling a petitioner to relief under his claim, as contrasted

  with a denial for such reason as failure to exhaust, procedural default, or statute-of-limitations

  bar.” Id. (citing Gonzalez v. Crosby, 545 U.S. 524, 532, n. 4 (2005) (internal quotations omitted)).

  “An adjudication on the merits is best understood by stating what it is not: it is not a resolution of

  a claim on procedural grounds.” Id. (citing Muth v. Frank, 412 F.3d 808, 815 (7th Cir. 2005)

  (internal quotations omitted)).

          Stated otherwise, just because a judgment on the merits exists, this does not mean that the

  underlying merits of the case have been addressed. See United States ex rel. Rostholder v.

  Omnicare, Inc., No. CCB-07-1283, 2012 WL 3399789, at *15 (D. Md. Aug. 14, 2012) (“A rule

  12(b)(6) motion tests the sufficiency of a complaint and does not resolve contests surrounding the

  facts, the merits of the claim, or the applicability of defenses.”) (internal quotations and citations

  omitted); see also State ex rel. Balderas v. Bristol-Myers Squibb Co., No. 2019-NMCA-016, 436

  P.3d 724 (stating that “a dismissal for failure to state a claim does not involve a judicial

  determination of the actual merits”).

          As one court explained, a dismissal with prejudice is an adjudication on the merits only to

  the extent that when a claim has been dismissed with prejudice, the final judgment on the merits

  element of claim preclusion will be presumed so as to bar a subsequent suit. Kirby v. Guardian

  Life Ins. Co. of Am., No. 2010-NMSC-014, ¶ 66, 148 N.M. 106, 125, 231 P.3d 87, 106. If it were

  otherwise, plaintiffs could simply ignore dismissals and file the same claim as many times as they



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  wished, so long as the claim never progressed to a determination on the substantive issues. Id.

  Thus, the intent behind considering a Rule 12(b)(6) dismissal as “on the merits” is practical: to

  limit repetitive filings. Id. Such a dismissal obviously does not involve a judicial determination

  of the actual merits. Id. Thus, while the Court’s Order was with prejudice and “on the merits,” it

  did not address the underlying legal merits of the claims at issue.

     II.      Whether the Court’s 12(b)(6) Dismissal Was Based on Rule 8, Rule 9(b), or both
              Is Immaterial

           VirtuOx also attempts to distinguish the cases relied upon by the Government by asserting

  that, to the extent those cases were dismissed solely on Rule 9(b) grounds, they are inapplicable

  because such dismissals were not on the merits. This is incorrect. A Rule 12(b)(6) dismissal is

  presumptively on the merits. Davis v. Davis, 551 F. App’x 991, 994 (11th Cir. 2014). This

  principle is equally applicable to a 12(b)(6) dismissal with prejudice based on Rule 9(b). See, e.g.,

  United States ex rel Gage v. Rolls-Royce N. Am., Inc., 760 F. App'x 314, 318 (5th Cir. 2019) (in

  deciding whether issue preclusion applied, the Court noted that a dismissal with prejudice under

  Rule 9(b) “qualifies as actual litigation because dismissal with prejudice is ‘a final judgment on

  the merits’”); see also U.S. ex rel. Karvelas v. Melrose-Wakefield Hosp., No. CIV.A. 01-10583-

  DPW, 2003 WL 21228801, at *13, n. 16 (D. Mass. May 21, 2003), aff'd, 360 F.3d 220 (1st Cir.

  2004) (noting that after the Court dismissed the relator’s complaint several times based on

  insufficient allegations, it was appropriate “to enter final judgment in this litigation with

  recognition and anticipation that it is on the merits and precludes plaintiffs and his privies from

  relitigating issues that were or could have been raised in this action”).

           Thus, dismissal with prejudice under Rule 9(b) alone, as opposed a dismissal under Rule 8

  and Rule 9(b), is a distinction without significance here – as long as the dismissal is under Rule

  12(b)(6), the dismissal is on the merits unless it states otherwise. Eiber Radiology, Inc. v. Toshiba

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  Am. Med. Sys., Inc., 673 F. App’x 925, 929 (11th Cir. 2016). Further, if VirtuOx’s position is

  correct – that a 9(b) dismissal with prejudice is not a decision on the merits – then res judicata

  could not later be applied to such dismissal because it is was not on the merits. Certainly, that is

  not the case.

         The cases relied upon by the Government in its Motion involved decisions on the merits

  (as they are 12(b)(6) dismissals with prejudice), and res judicata would generally apply to any

  future actions involving the same parties and same causes of action because there was a final

  judgment on the merits. Although these decisions were on the merits, the Courts did not address

  the underlying merits of the claims and, therefore, declined to extend the dismissal with prejudice

  to the government. See, e.g., Health Mgmt. Assocs. Inc., 2014 WL 12616929, at *1 (declining to

  extend dismissal of relator’s complaint with prejudice to the United States because the “reasons

  for dismissal were unrelated to the merits of the claims”); see also Bell Helicopter Textron, Inc.,

  417 F.3d at 456 (noting that “the complaint itself was so deficient that the court never reached the

  merits of the claim”). In sum, although these courts did not reach the merits of the claims, the

  dismissals are decisions on the merits for purposes of res judicata. The same is true here. While

  the Court’s order was “on the merits” (as is any 12(b)(6) dismissal with prejudice), the Court did

  not reach the underlying merits of Relator’s allegations. Rather, the Order only addressed the

  sufficiency of the allegations.

         Moreover, despite VirtuOx’s assertion to the contrary, the Government relied on cases that

  were dismissed with prejudice pursuant to both Rule 8 and Rule 9(b) – the same situation presented

  here. In United States ex rel. Mastej v. Health Management Associates, Inc., the Court dismissed

  the relator’s Third Amended Complaint “with prejudice for failure to comply with Rules 8(a)(2)

  and 9(b).” 2014 WL 12616929, at *1. The Court relied on Rule 8 when it ruled that the relator



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  failed to plead plausible allegations of presentment under the FCA, and that the relator failed to

  provide any factual support as to an agreement among the defendants to get a false claim paid in

  relation to the conspiracy claim. U.S. ex rel. Mastej v. Health Mgmt. Assocs., Inc., No. 2:11-CV-

  89-FTM-29DNF, 2013 WL 1149255, at *1 and *11 (M.D. Fla. Mar. 19, 2013), judgment clarified

  sub nom. USA v. Health Mgmt. Assocs. Inc., No. 2:11-CV-89-FTM-29DNF, 2014 WL 12616929

  (M.D. Fla. June 10, 2014), and aff'd in part, rev'd in part and remanded, 591 F. App'x 693 (11th

  Cir. 2014). Because the 12(b)(6) motion was granted with prejudice, it was on the merits. Thus,

  the scenario in Mastej is the exact scenario presented here – a dismissal with prejudice of a relator’s

  complaint under Rule 8 and Rule 9(b) on the merits. And in that scenario, the Court declined to

  extend its ruling to the government after the government requested clarification. Mastej, 2014 WL

  12616929 at *2 (noting that to hold otherwise would compel the government to intervene in FCA

  cases in order to fill in the blanks of a defective complaint and protect its rights, and the relator’s

  concern regarding the potential length of the investigation were assuaged by the statute of

  limitation provisions of the FCA). Likewise, in United States v. Omnicare, Inc., et al., 2012 WL

  3399789, (D. Md. Aug 14, 2012), the Court granted the defendant’s 12(b)(6) motion to dismiss

  with prejudice because relator failed to plead a facially false statement, failed to identify an

  obligation to disclose, and failed to plead with particularity under Rule 9(b), thus basing its

  12(b)(6) dismissal on Rule 8 and Rule 9(b). With respect to the United States, the Court held that

  it would be inappropriate to dismiss with prejudice as to the United States considering that “a

  decision not to intervene may not necessarily be an admission by the United States that it has

  suffered no injury in fact, but rather the result of a cost-benefit analysis.” Id. at 15.

          VirtuOx asserts that failure to apply a judgment on the merits against the government

  would create perverse incentives for the government to initially decline intervention and, instead,



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  see if the relator prevails in advancing her claims before making a definitive intervention decision.

  Response (ECF 90), at 1. However, the Government is not aware of any relevant decision that has

  embraced that concern. Instead, courts have expressly rejected that same argument. Boros v.

  Health Mgmt. Assocs., 2013 WL 12077816, at *2 (“[D]ismissing the case without prejudice as to

  the United States would not allow the United States a second bite at the apple or create perverse

  incentives. Rather, it prevents perverse incentives that would arise if the government were forced

  to intervene in any action in order to avoid forfeiting future claims against a defendant.”)

     III.      Conclusion

            For the reasons discussed herein and in its Motion, the United States requests that the Court

  enter the proposed order clarifying that the Order Dismissing the Complaint is without prejudice

  as to the United States.

  Dated: October 13, 2021
                                                          Respectfully submitted,

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